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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1006V
                                   Filed: December 16, 2016
                                        UNPUBLISHED

****************************
LINDA MANGANO,                             *
                                           *
                     Petitioner,           *     Joint Stipulation on Damages;
v.                                         *     Influenza (“Flu”) Vaccine;
                                           *     Shoulder Injuries; Special
SECRETARY OF HEALTH                        *     Processing Unit (“SPU”)
AND HUMAN SERVICES,                        *
                                           *
                     Respondent.           *
                                           *
****************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Linda Sara Renzi, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On September 11, 2015, Linda Mangano (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered injuries to
her left shoulder as a result of an influenza (“flu”) vaccine she received on September
19, 2014. Petition at 1, 3; Stipulation, filed May 18, 2016, at ¶ 4. Petitioner further
alleges that she suffered the residual effects of her injury for more than six months.
Petition at 3; Stipulation at ¶ 4. “Respondent denies that petitioner’s alleged injuries
and residual effects were caused-in-fact by the flu vaccine. Respondent further denies
that the flu vaccine caused any other injury or petitioner’s current condition.” Stipulation
at ¶ 6.




1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on May 18, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation.3 The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        A lump sum of $105,000.00, in the form of a check payable to petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of
        damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.4

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  On December 15, 2016, respondent filed Motion for Decision adopting the parties’ Stipulation filed on
May 18, 2016. For a procedural history of this case, leading to this final decision, see Scheduling Order
dated 12/13/2016, ECF No. 32.
4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
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